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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                  Central Division

STONE WORKS, LLC,                                   )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )       Case No. 4:21-cv-941
                                                    )
RANDY SIMS, MEGAN SIMS, WILLIAM                     )
THOMAS, STONE CONCEPTS, LLC, MARTY                  )
HESCH, and EDWARD FRALEY,                           )
                                                    )
                      Defendants.                   )

     DEFENDANT EDWARD FRALEY’S RESPONSE TO PLAINTIFF’S MOTION TO
                        EXPEDITE DISCOVERY

       Defendant Edward Fraley (“Defendant Fraley”), for his Response to Plaintiff’s Motion to

Expedite Discovery [Doc. 12], states as follows:

           1. Defendant Fraley is not opposed to Plaintiff’s Motion to Expedite Discovery, so

              long as the other defendants are in agreement.

           2. However, Defendant Fraley denies that expedited discovery is necessary “to

              prevent irreparable harm” as alleged by Plaintiff, particularly as to the claims

              asserted against Defendant Fraley.

           3. The claims against Defendant Fraley have no merit and, therefore, the discovery

              schedule is really of no consequence to the claims asserted against Defendant

              Fraley. Likewise, expedited discovery will do nothing to prevent irreparable harm,

              particularly in light of the Temporary Restraining Order that is already in place.

           4. In particular, Plaintiff has alleged claims against Defendant Fraley for Conversion

              (Count I); Tortious Interference with Business Expectancy (Count II); Theft of

              Trade Secrets (Count III); Unauthorized Computer Program Access and Theft

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   (Count V); Unauthorized Access to Property (Count VI); Civil Conspiracy (Count

   VII); and Violation of Arkansas Deceptive Trade Practices Act (Count IX) (“the

   Claims”).

5. Interestingly, Plaintiff’s theory against Defendant Fraley is completely different

   than its theory against the other defendants. Against Defendants Randy and Megan

   Sims and William Thomas (“the Defendant-Employees”), Plaintiff asserts various

   claims on the basis of their alleged misappropriation and use of confidential

   business information in violation of an employment agreement. Against Defendants

   Stone Concepts, LLC and Marty Hesch, Plaintiff alleges that the Defendant-

   Employees now work for Stone Concepts and Hesch, that such work is in violation

   of the Defendant-Employees’ employment agreements with Plaintiff, and that

   Stone Concepts and Hesch have gained an unlawful business advantage by use of

   Plaintiff’s confidential business information.

6. As to Defendant Fraley, Plaintiff’s theory is that Defendant Fraley, as a distributor

   of Centurion Stone, learned through confidential information that Plaintiff was

   using stone products of a Centurion competitor and that Defendant Fraley informed

   Plaintiff “that due to his belief Plaintiff would be selling a competitor’s product,

   Plaintiff would no longer be permitted to purchase Centurion Stone products from

   the factory and would in the future have to buy at a higher price from Stone

   Concepts, LLC. . .” Missing from Plaintiff’ allegations against Defendant Fraley is

   any mention of a contract or agreement that requires Defendant Fraley or Centurion

   Stone to provide products directly to Plaintiff. To the contrary, Plaintiff’s own




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               allegations, if true, establish that Defendant Fraley had a lawful justification to

               cease conducting business directly with Plaintiff.

           7. Ultimately, Defendant Fraley is willing to comply with any discovery order or

               schedule entered by the Court.

                                                 Respectfully submitted,

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                                                 Attorneys for Defendant Edward Fraley


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 26th day of November, 2021, a true and
accurate copy of the foregoing instrument was filed with the Court’s electronic filing system,
which sent notice of such filing to:

   Rickey Hicks
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   Little Rock, AR 72201
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   Timothy Dudley
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   The undersigned hereby certifies further that on this 26th day of November, 2021, a true
and accurate copy of the foregoing instrument was mailed via U.S. Regular Mail postage
prepaid to Pro Se Defendant William Thomas, 1205 Anemone Dr., North Little Rock, AR
72117.


                                                /s/ Jason C. Smith
                                                    Attorney of Record




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